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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                 SAN FRANCISCO DIVISION

RICHARD KADREY, et al.,                            Case No. 3:23-cv-03417-VC

       Individual and Representative Plaintiffs,
                                                   PLAINTIFFS’ MOTION FOR RELIEF
  v.                                               FROM NON-DISPOSITIVE PRETRIAL
                                                   ORDER OF MAGISTRATE JUDGE
META PLATFORMS, INC.,

                                    Defendant.



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                                              MOTION

        Plaintiffs move under 28 U.S.C. § 636(b)(1)(A), Fed. R. Civ. P. 72(a), and Local Rule 72-

2 for relief from a non-dispositive pretrial order of a Magistrate Judge. Plaintiffs respectfully object

to and ask the Court to set aside the Discovery Order at Dkt. No. 279 issued by Magistrate Judge

Thomas S. Hixson on November 15, 2024, as set forth in the accompanying Memorandum of

Points and Authorities (“Memo”). In addition to this Motion and the Memo, the Motion is based

on the relevant underlying briefing at Dkt. Nos. 259, 263, and 267, the Proposed Order for this

Motion, the records and docket in this matter, and any oral argument the Court may hear.

 Dated: November 19, 2024                       By: /s/ Jesse Panuccio
                                                       Jesse Panuccio

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                    MEMORANDUM OF POINTS AND AUTHORITIES

         In his Discovery Order, Dkt. No. 279 (the “Order”), Magistrate Judge Hixson found that

Plaintiffs were untimely in seeking their requested relief—a conclusion that runs contrary to the

case management deadlines in multiple ways. The Order, aside from being legally erroneous, has

far-reaching consequences for this case and for the putative class whose copyrights have been

violated. Chief among those consequences is that Plaintiffs are unable to challenge Meta’s attempt

to shield critical evidence through erroneous assertions of attorney-client privilege. The Order also

determined that Plaintiffs’ third-party subpoenas were untimely even though the case deadlines

cited in the Order do not apply to subpoenas. Finally, the Order left Plaintiffs without an

opportunity to raise other timely discovery disputes, such as Meta’s failure to conduct proper

searches. The whole point of the Court’s directive to augment Plaintiffs’ legal team was to ensure

that this case is litigated on a “proper record.” Hrg. Tr. 16:19-20 (Sept. 20, 2024) (Chhabria, J.).

The Order will foreclose that possibility. That outcome is not warranted, and the Order was clearly

erroneous.1

    I.    Plaintiffs Were Timely in Raising Privilege Issues with the Court

         Plaintiffs timely challenged Meta’s privilege claims because they did so before the

December 20, 2024 deadline to present discovery disputes. The Order incorrectly held that

Plaintiffs’ privilege challenge nonetheless was time-barred because the parties met and conferred

after the stipulated scheduling order’s October 16 deadline to meet and confer regarding “existing

written discovery.” Dkt. No. 279 at 1-2.

         The stipulated deadline concerning “existing written discovery” was never intended to

address privilege issues. The only support for the Order’s contrary conclusion is the claim that

“Meta rejected having separate deadlines” for meeting and conferring regarding existing written

discovery and privilege issues. Dkt. No. 279 at 2. Not so. At no point during the parties’

negotiations over the remaining case deadlines did Meta reject separate deadlines. Rather, the

1
 A district judge must consider timely objections to a magistrate judge’s non-dispositive orders
and modify or set aside any part of them that is clearly erroneous or is contrary to law. Fed. R.
Civ. P. 72(a).


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parties removed “Priv. Logs” from the proposed deadline for “Letter Briefs re: Existing Written

Discovery/Priv Logs” in their ultimate agreement. See Dkt. No. 259-2 at 6, 8. Prior iterations of

the schedule placed an (also removed) meet-and-confer on privilege issues after both the deadline

to meet and confer regarding “existing written discovery” and the deadline for filing letter briefs

on “existing written discovery.” See id. at 6. But Meta requested, and Plaintiffs agreed, to

“remov[e] the dates that we do not think are necessary for this schedule,” including those dates

relating to privilege issues. Dkt. No. 259-2 at 7-8. Ultimately, the parties filed their stipulation as

Dkt. No. 227 without any reference to a deadline for meeting and conferring or briefing any

privilege issues, reflecting a clear intent that no such deadline be set.

       Even if Plaintiffs’ privilege challenge addresses “existing written discovery,” Plaintiffs

timely raised it. The only condition this Court placed on the ability to present disputes regarding

“existing written discovery” by November 8 was Plaintiffs’ agreement to pay Meta’s reasonable

attorneys’ fees. See Dkt. No. 258. Plaintiffs agreed to pay $23,000 to Meta and, therefore, the

Court’s order extended the briefing deadline. Regardless, the parties had already met and conferred

about inadequacies in Meta’s privilege log well before the interim October 16 deadline. Dkt. No.

259 at 2 (noting the parties met and conferred on privilege issues on September 24, 2024). Meta

then produced amended privilege logs that contained the very same inadequacies, prompting

Plaintiffs’ follow-up letter. Dkt. No. 282-2. Meta did not argue that Plaintiffs’ follow-up letter was

untimely when it initially responded on October 25. Meta instead waited until its November 1

response letter—which Meta sent only after filing its opposition to Plaintiffs’ administrative

motion—to argue for the first time that Plaintiffs’ privilege challenges were untimely.

       In any event, the Order substantially prejudices Plaintiffs. A timely privilege challenge,

even late in fact discovery, does not amount to a “redo” of Meta’s document productions. See Dkt.

No. 252 at 2; Dkt. No. 279 at 3-4. Courts routinely adjudicate privilege challenges near the end of

fact discovery. See, e.g., Roblox Corp. v. WowWee Grp. Ltd., 2024 WL 815516, at *1 (N.D. Cal.

Feb. 27, 2024) (adjudicating as timely a privilege challenge filed after the fact discovery cut-off

because “production [was] still ongoing” in light of recent discovery orders). Plaintiffs’ privilege



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motion was filed long before the December 20, 2024 deadline for raising discovery disputes, and

it can be adjudicated without rewriting the litigation schedule.

        Further, Plaintiffs are right on the merits. Meta has improperly withheld hundreds of

documents that do not satisfy the Ninth Circuit’s primary purpose test or, alternatively, that are

subject to the crime-fraud exception. In short, Meta has wielded privilege in a manner contrary to

law. Emblematic of its vastly overbroad privilege assertions, Meta has withheld more documents

for some non-attorney custodians than it produced for them. Dkt. No. 269 at 2. Discovery is not a

game of “gotcha,” see Martin v. Her, 2019 WL 13374981, at *2 n.1 (E.D. Cal. July 29, 2019), and

Meta should not be rewarded for its excessive and unsupported privilege designations due to a

meet-and-confer deadline whose scope was, at best, ambiguous.

  II.    Plaintiffs Timely Served Third-Party Discovery

        The Order completely barred Plaintiffs from enforcing third-party subpoenas that were

served nearly two months before the fact discovery cut-off. Because the scheduling order set

December 13, 2024, as the fact discovery deadline, see Dkt. No. 227, Plaintiffs served subpoenas

on October 25, 2024, to obtain a discrete set of relevant documents in advance of the deadline. The

Order’s conclusion that the parties’ interim deadline to “serve additional written discovery

requests” also applied to third-party discovery is not supported by the record. All relevant filings

mention only the parties’ written discovery, see, e.g., Dkt. Nos. 184 & 184-2, not third-party

discovery. Likewise, in all correspondence, both Plaintiffs and Meta were clear that interim

deadlines applied only to party discovery. Because the parties never agreed to deadlines for third-

party discovery, the December 13, 2024 fact discovery cut-off applies.

        If, however, Plaintiffs had a good-faith misunderstanding and an interim deadline applied

to third-party discovery, there would be good cause to extend that deadline. It would be prejudicial

to bar Plaintiffs’ third-party subpoenas while Meta seeks them. Indeed, Meta just produced

documents from Hachette Book Group in response to Meta’s subpoena on November 14, 2024,

and confirmed that documents related to an agreement with Reuters to purchase AI content “will

be produced.” Dkt. No. 263 at 2 n.5. Meta does not dispute the relevance of the materials sought



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by Plaintiffs’ subpoenas, or the appropriately targeted nature of the subpoenas (whose targets

primarily came from Meta’s own discovery). Further, one of the fair use factors is “the effect of

the use on the potential market for or the value of the copyrighted work.” 17 U.S.C. § 107(4).

Documents and correspondence relating to agreements to license content for use as AI training

data, both for Meta and generally, are relevant to “the potential market for or the value of the

copyrighted work.” See 17 U.S.C. § 107. This discovery is especially important because Meta has

attempted to downplay the market for licensing content as AI training data, yet public

announcements from third parties show that AI developers are beginning to enter into these exact

licensing arrangements.2 Precluding this relevant discovery was erroneous. 3

    III.    The Order’s Other Rulings Are Likewise Erroneous
           The Order makes similarly erroneous findings in adjudicating the issues contained in

Plaintiffs’ Omnibus Discovery Letter, Dkt. No. 267. The Court expressly extended “the deadline

to present disputes regarding ‘existing written discovery’ to November 8, 2024” once Plaintiffs

agreed to pay $23,000 in Meta’s attorneys’ fees. Dkt. No. 258. Plaintiffs then engaged in joint

letter briefing with Meta concerning (1) the setting of a schedule for the parties to exchange and

challenge existing search terms (or, alternatively, requiring Meta to add additional document

custodians); (2) permission for Plaintiffs to propose a set of search terms to ensure Llama 4 was

properly included within Meta’s search and production of responsive documents; and (3) leave to

serve additional interrogatories.4 See Dkt. No. 267. All of these issues were expressly raised in

Plaintiffs’ administrative motion that resulted in the briefing extension. Dkt. No. 244 at 1-2. Yet

for each of them, the Order rules that any effort by Plaintiffs was untimely. That was plain error:




2
  HarperCollins Inks AI Licensing Deal for Nonfiction Books, PUBLISHERS WEEKLY (Nov. 18,
2024), available at https://www.publishersweekly.com/pw/newsbrief/index.html?record=5076.
3
  Because Meta represented that documents that are responsive to Plaintiffs’ recent discovery
requests will be produced, Plaintiffs do not challenge that portion of the Order.
4
  The additional interrogatories are not “existing written discovery” at all. They were served on
October 10, 2024, one day after Plaintiffs served RFPs and RFAs that all parties agree are
“additional discovery.”


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Plaintiffs literally paid to be able to raise these issues, and they should have been decided on the

merits.

          Technical time-barring aside, the Order also concluded that it was too late in fact discovery

to grant Plaintiffs their requested relief. 5 The Order primarily focused on the “sweeping” nature of

any request for Meta to run additional search terms. Dkt. No. 279 at 4. But running a discrete set

of new search terms over a small universe of fifteen custodians is not “sweeping” relief. Enough

time remains in the fact discovery period for Meta to conduct these searches, especially since the

Order already agreed that at least one covered subject—Llama 4—is relevant. Id. On the issue of

additional interrogatories, the Order was wrong to describe the fact that “Plaintiffs waited nearly

a month after they served these rogs to ask for an order allowing them” as “confounding.” Dkt.

No. 279 at 5. Plaintiffs began their efforts to get the Court to address the parties’ litany of discovery

disputes on October 22 by leaving a voicemail with Judge Hixson’s Courtroom Deputy that sought

a telephonic conference with the Court. Plaintiffs sent follow-up emails and left voicemails seeking

that conference on October 23, October 25, and October 29. Dkt. No. 244-1 at 1. Plaintiffs then

sought on October 28 to stipulate with Meta to an expedited joint briefing schedule, but Meta

rejected that effort even though the underlying disputes were timely raised to the Court on October

22. Dkt. No. 244-13. In a case where scheduling a meet-and-confer with Meta routinely takes a

week (plus another week for joint briefing), Plaintiffs acted sufficiently timely to warrant the

requested leave to serve additional interrogatories. These interrogatories could have easily been

answered in the five weeks between the Omnibus Discovery Letter and the fact discovery cut-off.

See Fed. R. Civ. P. 33(b)(2) (requiring parties to respond to interrogatories within 30 days).

    IV.    Relief Requested
          Plaintiffs respectfully request the Court sustain Plaintiffs’ objections to the Order.

5
  Namely, the Order characterizes Plaintiffs’ request as to Issue 1 as “a request to redo Meta’s non-
custodial documents productions essentially from the beginning.” Dkt. No. 279 at 3. For Issue 2,
the Order warns that Plaintiffs’ proposal of Llama 4 search terms is “commencement of a new
discovery process.” Id. at 4. With respect to Issue 3, the Order presupposes that requiring Meta
to answer additional interrogatories “would likely turn the close of fact discovery into a train
wreck” because of the parties’ upcoming deposition schedule. Dkt. No. 279 at 5.


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                                              Dated: November 19, 2024

                                              By: /s/ Jesse Panuccio
                                                      Jesse Panuccio

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